                     IN THE UNITED STATES DISTRICT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

JOHNNY M. HUNT,                     )
                                    )
    Plaintiff,                      )
                                    )                       Docket No.: 23-CV-00243
v.                                  )                       JURY DEMAND
                                    )
SOUTHERN BAPTIST CONVETION, et al., )
                                    )
    Defendants.                     )


                    REPLY IN SUPPORT OF MOTION TO DISMISS
                 BY DEFENDANT SOUTHERN BAPTIST CONVENTION


       Defendant Southern Baptist Convention (“SBC”) submits the following reply to address

the primary flaws in Plaintiff’s response in opposition (the “Response”) and in further support of

SBC’s Motion to Dismiss Plaintiff’s Complaint (“Complaint”).

       I.      Plaintiff’s Response Ignores the Ecclesiastical Governance and Standard of

Morals Issues Implicit in the Messengers’ Motion that Led to the Guidepost Report.

       Plaintiff’s Response erroneously claims that “[n]othing in the Complaint would require the

Court to delve into matters of religious doctrine, free-exercise rights, or church government” and

that Plaintiff’s claims seek to apply “neutral principles of tort law in a purely civil dispute.”

Response, at P. 5-6. However, this argument ignores the fact that the gravamen of Plaintiff’s

Complaint is not, at its essence, whether Plaintiff – in fact – engaged in inappropriate or

nonconsensual sexual conduct. Rather, Plaintiff’s primary claim is that the inclusion of reports

regarding his own conduct were defamatory by virtue of their inclusion in a report that also

contained other types of reports of sexual abuse and misconduct.



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       This argument misses the mark because it fails to account for the fact that the Guidepost

Report was commissioned by the Messengers to address the problem of sexual abuse within SBC

churches, and was created by motion of the Messengers at the largest SBC annual meeting since

1995 – which took place in Nashville, Tennessee in June 2021 (the “Messengers’ Motion”) – in

order to investigate and expose, among other things, “[a]llegations of abuse by Executive

Committee members” between January 1, 2000 and June 14, 2021, Doc. 1-1, at P. 2. As previously

set forth in the SBC’s memorandum, the SBC is a network of independent churches whose purpose

is to “provide a general organization for Baptists in the United States and its territories for the

promotion of Christian missions at home and abroad.” Exhibit B to Complaint (“Report”), at 29

(quoting Article II of the SBC Constitution). The SBC “is under the direction of the Messengers,

i.e., the representatives of local churches that cooperate with the SBC,” id., at 32, who – in 2021

– demanded, via the Messengers’ Motion, an investigation into “any allegations of abuse,

mishandling of abuse, mistreatment of victims, a pattern of intimidation of victims or advocates,

and resistance to sexual abuse reform initiatives” by the EC between January 1, 2000 to June 14,

2021. Id., at 16.

       The “directly on point” case Plaintiff’s Response relies upon in support of his argument,

Ogle v. Hocker, 279 F. App’x 391 (6th Cir. 2008), indeed states that “[w]hether a secular court may

hear a tort suit despite the church autonomy doctrine turns on the availability of secular standards

and the ability of a court to resolve the controversy without reference to religious doctrine.” Id.,

at 395. Where Plaintiff’s argument misses the mark is that the controversy over whether Plaintiff’s

own conduct merited inclusion in the Guidepost Report necessarily requires this Court to delve

into and intertwine itself in the underlying motivations and interpretation of the Messengers’

Motion and whether the Guidepost Report appropriately responded to the Messengers’ mandate.



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As previously noted, the First Amendment prohibits courts from interfering with determinations

regarding matters that include, among other things, “the conformity of the members of the church

to the standards of morals required of them.” Serbian E. Orthodox Diocese v. Milivojevich, 426

U.S. 696, 714 (1976) (internal citations omitted).

       In other words, “regardless of how the claims … may be labeled, resolving [Plaintiff’s]

claims would require [] this court to enter into areas implicating the First Amendment.” Ogle v.

Church of God, 153 Fed.Appx. 371, 375-76 (6th Cir. 2005) (internal citations omitted). Plaintiff’s

conclusory statement that a secular evaluation of the Guidepost Report can be undertaken without

any consideration of the underlying 2021 mandate of the Messengers’ Motion and the motivations

for the internal investigation – which necessarily include matters of church governance and the

conformity of the members of the church to the standards of morals required of them – that led to

the Guidepost Report is simply wrong and not supported by the record. As such, this Court does

subject matter jurisdiction over Plaintiff’s claims and the same must be dismissed pursuant to Fed.

R. Civ. P. 12(b)(1).

       II.     Plaintiff’s Response Fails to Establish the Existence of any Form of Libel.

       Whether under Tennessee or Georgia law, whether Plaintiff is a public figure – either

general or limited – is a question of law. Elsten v. Coker, No. No. M2019-00034-COA-R3-CV,

2019 WL 4899759, at *2 (Tenn. Ct. App. Oct 4, 2019); Atlanta J-Const. v. Jewell, 555 S.E.2d 175,

183 (Ga. 2001). A public figure must prove that the alleged libelous statement was made with

actual malice – that is, with knowledge that it was false or with reckless disregard of whether it

was false or not. Hudik v. Fox News Network, LLC, 512 F.Supp.3d 816, 825-26 (M.D. Tenn. 2021);

Hibdon v. Grabowski, 195 S.W.3d 48, 58 (Tenn. Ct. App. 2005) (quoting New York Times Co. v.

Sullivan, 376 U.S. 254, 279-80 (1964)). “Public figures who desire to pursue defamation actions



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bear a heavy burden of proof because of our society’s commitment to the principle that ‘debate on

public issues should be uninhibited, robust, and wide-open.’” New York Times Co. v. Sullivan, 376

U.S. 254, 270 (1964).

       Plaintiff’s Response does nothing to negate his own descriptions of himself – set forth in

the Complaint – as (1) an “extraordinarily successful” church leader with “an incredible talent” for

leading and growing churches” across the country, Complaint, at ¶¶ 2, 26-27; (2) “the first elected

Native American to hold the office of President of the Southern Baptist Convention [] – a

cooperative of almost 50,000 Southern Baptist churches across the country,” Id., at ¶ 28; and (3)

“a sought-after speaker and author” and “a noted speaker at state and national SBC conferences

and conventions” Id., at ¶ 29; suffice to establish Plaintiff as a public figure. Plaintiff’s own

allegations regarding his role in the SBC during the time period relevant to the Guidepost Report

– January 1, 2000 to June 14, 2021 – establishes Plaintiff’s status as a public figure.

       Even if Plaintiff were not a public figure, neither Plaintiff’s Response nor the Complaint

itself establishes any support for the argument that the SBC had any knowledge that the alleged

defamatory statements were false, or the existence of any reckless disregard for the truth of the

statements, given the undisputed fact that Plaintiff’s own rebuttal and version of the July 2010

Incident – despite the contravening evidence and Plaintiff’s own subsequent contradictory

admissions – were themselves contained in the Guidepost Report. Again, Plaintiff’s Complaint

fails to allege any actual facts that do not amount to legal conclusions sufficient to survive a motion

to dismiss. See Campbell v. Robinson, 955 S.W.2d 609, 613 (Tenn. Ct. App. 1997) (dismissing

defamation case for failure to state a claim where the “complaints fail to allege any facts which

would tend to show that the publishers of the statements alleged to be false, had any knowledge of

probable falsity”).



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       III.   Conclusion.
       Based upon the additional argument and authority cited above, the SBC requests that the

Court dismiss Plaintiff’s Complaint with prejudice.



DATED: June 23, 2023
                                     Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned certifies that a true and complete copy of the foregoing has been served
through the Court’s electronic filing system to the following on June 23, 2023:

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